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EXHIBIT 13
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                                                         Sometimes all you need is a
                                              great friend and a thirst for adventure.
                                                 Join Scouts BSA and you’ll find both.
                                                  JOIN TODAY AT SCOUTSBSA.ORG




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                                 Gain the confidence to move mountains by
                               conquering them altogether. Join Scouts BSA
                             and find out what it means to seek for yourself.

                                    JOIN TODAY AT SCOUTSBSA.ORG




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                                                  Take the first step toward forging
                                                      a new future. Join Scouts BSA
                                                  today and discover how awesome
                                                             you are inside, outside.

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                           The journey is as important as the destination you seek. Join
                              Scouts BSA, where the destination is limited only by your
                               imagination and adventure is found around every corner.
                                                    JOIN TODAY AT SCOUTSBSA.ORG




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                                                    Paddle beyond your comfort zone.
                                                  When you join Scouts BSA, there are
                                                    no limits to what you can achieve.
                                                   JOIN TODAY AT SCOUTSBSA.ORG




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                                           When it comes to adventure, you
                                         just have to get your feet wet. Join
                                        Scouts BSA and learn the skills you
                                           need to make waves in the world.

                                     JOIN TODAY AT SCOUTSBSA.ORG




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